83 F.3d 415
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Johnny Dean POWELL, Petitioner-Appellant,v.DIVISION OF CORRECTION;  Attorney General of The State ofMaryland, Respondents-Appellees.
    No. 95-7965.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  April 15, 1996.Decided:  April 30, 1996.
    
      Johnny Dean Powell, Appellant Pro Se.
      Before ERVIN and MOTZ, Circuit Judges, and CHAPMAN, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant noted this appeal outside the thirty-day appeal period established by Fed.  R.App. P. 4(a)(1), failed to obtain an extension of the appeal period within the additional thirty-day period provided by Fed.  R.App. P. 4(a)(5), and is not entitled to relief under Fed.  R.App. P. 4(a)(6).   The time periods established by Fed.  R.App. P. 4 are "mandatory and jurisdictional."  Browder v. Director, Dep't of Corrections, 434 U.S. 257, 264 (1978) (quoting United States v. Robinson, 361 U.S. 220, 229 (1960)).   The district court entered its order on August 1, 1995;  Appellant's notice of appeal was filed on November 8, 1995.   Appellant's failure to note a timely appeal or obtain an extension of the appeal period deprives this court of jurisdiction to consider this case.   We therefore deny a certificate of probable cause to appeal and dismiss the appeal.   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    DISMISSED
    